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UN|TED STATES OF AMERICA

 

P|aintiff

VS.
CR. NO. 05-20021-D

JASON PH|LL|PS,
DEREK WR|GHT,
QUENT|N WRIGHT

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAV
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to December 5, 2005 with a

report date of Tuesda§¢l November 22, 2005l at 9:00 a.m., in Courtroom 3, 9th F|oor of

the Federa| Building, |Viemphis, TN.

 

The period from September 16, 2005 through December 16, 2005 is excludable
under 18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for
additional time to prepare outweigh the need for a speedy trial.

n is so oRpERED this 24 day of september, 2005.

 
    
   

B N|C B. DO ALD
U TED STATES DlSTR|CT JUDGE

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UNITED sATE DISTRICT COURT -

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This notice confirms a copy of the document docketed as number 56 in
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Honorable Bernice Donald
US DISTRICT COURT

